Dear Director Crisp,
The Attorney General has received your request for an opinion wherein you ask the following question:
"In view of Lowery v. Oklahoma Beverage Control Board, Okla.,584 P.2d 720 (1978), is a block, for the purposes of 37 O.S. 534(c)(1971), to be defined as a linear distance of 300 feet so that apackage store may be considered in a different block than a churchor school if separated sic by a linear distance greater than 300feet?"
Title 37 O.S. 534(c) (1971) states in pertinent part as follows:
    "The location of such retail package store is specifically prohibited within three hundred (300) feet from any church property primarily and regularly used for worship services and religious activities, or public school . . . ."
    "The distance indicated in this section shall be measured from the nearest property line of such church or school to the nearest public entrance door of the premises of such package store along the street right-of-way line providing the nearest direct route usually traveled by pedestrians between such points. For purposes of determining measured distance, property situated on the opposite side of the street from such church or school shall be considered as if it were located on the same side of the street with such church or school. Provided, a license shall not be issued for a location on any city or town block where a school or church is located." Emphasis added
In Lowery v. Oklahoma Alcoholic Beverage Control Board, supra at 723, the Supreme Court of Oklahoma stated:
    "We hold the word `block' without modification, under 37 O.S. 534(c) (1976), means `that portion of a street between two intersecting streets.' See Patterson v. Johnson, supra; People ex rel. Beinert v. Miller, 100 Misc. 318, 165 N.Y.S. 602 (Sup.Ct.).
    "Applying the definition of `block' we have adopted, we hold a street is divided into blocks by its intersections with other streets regardless of whether the intersecting streets completely cross the divided street. See Wise v. City of Chicago et al., 183 Ill. App. 215.
    "We think the legislature intended to treat each linear block as a unit. The block is defined by reference to an intersecting street. Whether the intersecting street crosses the block, or enters the intersected street from either direction is immaterial." Emphasis added
While the Court in Lowery v. Oklahoma Alcoholic Beverage Control Board, supra, notes that "where a witness uses the term `block' as descriptive of distance the commonly accepted meaning of the term is `300 feet'", such an observation would appear to have been made in support of the Court's conclusion that the term "block" referred to a linear measure as opposed to being descriptive of a square block.
It is, therefore, the opinion of the Attorney General that yourquestion be answered in the negative. A retail liquor store may not belocated in the same block as a church or school. A block is defined byreference to intersecting streets, not a linear measurement in feet. Fora retail liquor store to be considered in a different block than a churchor school, there must be an intersecting street, whether the intersectingstreet crosses the block or enters the intersected street from eitherdirection being immaterial.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
DUANE N. RASMUSSEN, ASSISTANT ATTORNEY GENERAL